Case o-Zl-Uollo-asSt DOC 1-4 Filed UO/Zo/c<4l  ENLEreG UO/Zo/cl 10 oy 50

EXHIBIT
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CaSeé o-Z1-Uollo-asl

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Doc i-4 FHEQ UOlZo/c2l  ENLEreG UO/Z0/z1 10

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

66:08 iN NYAVIVNVIN SEE NVAVIVNVI L39NVL PILL LFDYVI/9TOZ/GT/OL | SvOv-SHdip anoj ise] NOSELUVS YNAIA! VE
s9°S¢s (N NVdVIVNVIN -OSPS IVA Lad OSS NIVA Lid 9T0Z/8T/OL | ShOP-S}ISIP Ino} Ysey NOSILUVS VNATSI CE
LEvOS iN NVdVIVNVIAN GO000000 S6# SNVINDIM | S6 SNVINDAM 9LOZ/ST/OL | = SPOv-SUSIP Anoj ys] NOSLENVS VNA13| ZE
|s2¢s AN. HOA MAN AGVEL GINOMsWALHEVdl HEVd LYS 8 GUVDLUVIAS HiVd/9t0Z/ST/OT | SpOp-SuSip uno} iseq NOSLINVS VNI13I TE
SECS AN _OMOA MSN 30VEL GISOMsINALHLVd| HLVd LYS 8 GYVDLUVINS Hivd 9T0¢/ST/OL | = SOP-SUBIp unos ise] _ NOSILYVS VNAI3] O€
1P8°CLCS {N- - NVdVIVNVIN 60000000 S6# SNVINDSM G6 SNVINDIMISLOC/ST/OE | SOb-SisIp anoj ise] NOSLLEVS VNII4l 67
100'09S AN SUOA MAN Va 1S4¥ OINLV GVENOO AN GVUNOD|STOZ/PE/OL | SPOb-sUsip ino} ise7 NOSILUYS VNATSI 8z
09°ces AN MOA MIN NGIGHLORD Nivd 37 NFIGLLONO.NiVd 31 STOC/PI/OL | SpOp-Stsip inoj seq NOSILUVS VNATSI 22
SLES AN YMOA MAN F0VHL GTHOMAINALHIVd HLVd LYS 8 GYVOLNVINS HIVd 9EOZ/PI/OL | SvOp-SqSIp ino} ise] NOSILEYS VNA1S] 97
vvOEs AN MYOA M3N 0 9SEVTH JCVaY INVNG OSEVE SNASUODIVM SLOC/EL/OL.  SPOP-SHISIP.2no} 1se] NOSLLUVS VNGIS| SC.
66S AN YYOA MIN 0 9SEvT# JGV3Y INVNAG 9SEPL SNJANDIVM | OLOC/EL/OL .  SpOp-S3ISIp sno} Ise) NOSLLUVS VN2T4I yc
S6'ES AN YYOA MSN _NGIGLLOND Nivd 31 NAIGILOND NiVd 31 STOZ/ET/OT | SeOp-sqISIp Ino} yseq NOSILUYS VNAT3| EZ
6L:9EZS AN YYOA MAN # JNO ALNIML AMALNGD HINO ALNIML AUALNAD OLOZ/ET/OL |. SPOp-SISIP inoj ye) NOSLLNVS VNITA] ZZ
S9°CIS AN YYOA MAN €Z00 1OIMESIG J] ANVENVISSY LOINISIG FT OTOZ/EL/OL == SvOp-SIISIP no} sey NOSILUVS VN313| LZ
898s ‘AN MYOA MANO 9SEv1# 3Gva" INVAG OSCPT SNSSUOIVM SEOC/CT/OL — SPOP-SUBIP 1n0j 3s) NOSILUVS VN313| 02
LU6S AN YOA MAN NZIGHOND Nivd 31 NGIGLLOND- NIVd 77 SLOZ/LL/OL | © SOp-SiISIP inoj ysey NOSLLUVS YN313]-61
LESSTS AN YYOA MAN 0 SPZOT GUL SCHFIOHM| —- GULLNUVIN SGOO4 FIOHM OL0Z/TT/OL | SvOb-StsIP 1n0j Isey NOSHLUVS VNAISI BE
SOPs {N OYOSTEVIN. Z9800# ADVINUVHd/SAD Z9800# ADVINNVHd/SAD STOZ/TE/OL | SvOP-SUSIP sno} ise] NOSILUVS VN374] ZT
6900S XL WOD'NOZHN3A AVddINILSNO NOZIUSA SOIFINODNOZINSA SEOZ/T1/OL | SPOp-S}HSIP 1noj 4Sse) NOSHLUVS VN374] OF
8Z'PS AN YOA MIN 0 9SCPT# IGVaY INVA 9SEVT SNIAUDIVM SEOZ/OL/OL | S¥Ob-SHSIP ino} Ise] NOSILUVS VNATIE ST
€9'°85 AN YYOA MAN NAIGLLOND Nivd 37) NFIGLLOAD NiVd 41 9TOZ/OL/Ot | SvOr-SUSIp ino} ise] NOSELYVS VNATA| PL
OV C8TS AN YYOA MIN 0 SPZOT GYLSG4FIOHM, «=, SULLENUVIN, SGOO4 JIOHM 9T0Z/OT/OT | S¥Oh-SUISIP 2N0J 3Se9 NOSILUVS VNATS] ET
C995 AN SMOA MIN - UV OSS3NdS3 VINOUV 2 - UVa OSSHUdS3 VINOHV SLOC/OLT/OL | SPOP-SHSIP Ino} yseq NOSLLUVS VN3T3| CL
099025 SA OA MON PELCTIET? 91015 addy ¥S9Y JHOIS J1ddV¥ 9TOC/O1/O1 | SPOP=SUISIP inoj seq NOSHLYVS VNAT3I TT
OL VIS. AN YOA MIN LDIVIN JOViId ANS LIVE W LDIMVIN FOVId ANFLILVE OTOC/OT/OT | SOP Siisip ino} ise} NOSELYVS VNAq4| OF
8Z0bS AN SYOA MAN 9# JANSAV Hidid SVS GS9 FAV HI4I4 SNVS 9LOZ/OL/OL | SpOp-SiSIp anoj yse] NOSLLYVS VNA1a] 6
1OS'8es AN YMOA MSN OTVS SIIVN VdSS,NNV) ONT NOIVS STIVN VdS SNNV 9T0¢/6/0T SPOP-Sisip ino] ysey NOSHLUVS VNAT| 8
SO'VLS AN UOA AVIN CL NAHOLD S.VOISISL NSHOLIN S.VOSGINL | 9T02/6/0T GPOp-SBIP INO} ise] NOSHLUVS VNGT8] 2
68°SPES AN GA M3N # 43NO ALNSML ANALNSD # INO ALNSME AYNLN3D | 9T0C/8/01L GvOP-SUBIP INO} Ise) NOSLLUVS VNA13} 9
99° LES AN YOA MAN # 3NO ALNAML AYNENSD # NO ALNIML AUALNGO 9E0¢/8/0T SPOv-SUSIP INO} 4S] NOSILNVS VN41a]. S
LELS AN YHOA MIN €Z00 LORHSIG 31) INVUAVISTY LOILSIG 31 9T0Z¢/8/0T SPOr-SUSIP INO} Ise} NOSILYVS VN313] 7
9S'CTS AN MYOA MIN €Z00 LOINISIG 77 ENVUNVESSY LOIMLSIG 4¥/9L07¢/8/0T SvOp-SusIp ino} ise} NOSILYVS VN3T4] €
8S V9TS SHINOI SO - 334 dIHSYIaINSZIN MAN : 910Z/€/0T GvOP-SHSIP INO 3Se7 NOSLLUVS VNATSE @
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€L'SSS iN. IBIZVH 8627 IIAOINNOXX3 S3TVS JGISNI TIGOINNOXX3 SE0¢/ST/IE | SpOp-Su8Ip inoy 3se7 NOSILUVS VNA7Al 69 |
SLLES IN - NOFNS11O9 |= SHINV31O GYVHOYO SUANVI1D. GUVHONO OLOZ/ST/EL |. SpOp-SiISip INO} 4s) NOSLLUVS VNA73] 89
0O'STEPS iN OYOSIYVIN 0000 HSM 1d NOIWS HSA 1g NOIVS SLOZ/ET/TE | SvOp-SuSIP Ino} 3Sse7 NOSILUVS VN313| £9
{Ov'9cts VM £668-£€6-008 HAI GiVd1SOd FUSOWL MAL FIGOW-L SLOC/CL/EL | SOP-SIISIp ino} 3sey NOSELUVS VN31S| 99
~ 100°00TS {N.- | XOUNSLIOD LOQ000SPI SO1d STIVN Sid SUVN StOC/ZI/ET | SpOv SHIP snoy yse7, “NOSLLUVS VN374| 59
66:0¢S AM SNNSAJHO WOO SSSUOVISNI) INOD'SSAUDVISNI OLOZ/ZI/TE. SpOp-SUSIp anoyysey NOSILUVS VN313| 79
SC 90S {N LIZVH 862i JIGOINNOXXa SIIVS SGISNI IIGOWNOXX49 STOC/TI/LE | SpOb-Sildip ano} sey NOSILUVS VNJ19] €9
6668S iN LIZVH 690Z0# ADVINUVHd/SAD 690Z0# ADVINYVHd/SAD SLOZ/TL/EL | StvOb-SHSIP sno} se] NOSILUVS YNI14| C9
Ep Sots IN DINVE GIN NVINESINOA UBLSVONVT NVIISANDT YSLSVONV] STOC/OL/TE | ~ SvOb-Silsip ano} yse7 NOSLLUVS VN374] 19
oros fN - GJOHAINA STOCO# ADVINVHd/SAD | “STOCO# ADVIWUVHd/SAD STOZ/OT/TL — SPOP-SiISIp 4no} 3Se9 NOSILHVS VNA745I 09
UCTS iN. NVAWIVNVIN YOLSIY ISS3TV YNIDNO id 8 JLNVHOLSIY ISSATV VNIOND 9T0Z/6/EE SVOP-Ssip Ino} ysey NOSLLUVS VNI7a| 6S
96°€2S [N GIOH3IY4 Z8ITH IYOLSSdN 4HL) Z8ELH IUOLS SdN JHL 9TOZ/6/LT SvOP-SHSIP 1NOj Ise} -NOSLLUVS YN373| 8S
TS pes IN NVdVIVNVIN 60000000 S6# SNVINDIM S6SNVINDSMISTOC/6/EE  SbOv-SUSIP Jno} ase) NOSELYYS VNAI91 2S
O0'STS {N OYOSTUVIN OLLVLS 30IAMSS TISHS NOLLVLS JDIANSS TISHS 9T0¢/8/EE SpOr-suSip 4nOj Ise} NOSLLYVS VN31a] 9S.
80°9S NOCNO? GLI SAT Tu GLI SATIMIE 9TO?/S/TT SvOp-SusiIp 4nd} yseq NOSLLUVS VN3T4] SS
S66S NOGNO? GETSATiuld GILT SAFIMIS| 9TOC/S/TL GvOb-SHSIP 4NO} Seq NOSILNVS VN314] 7S
eles “NOGNO? GOOMIAYOM OYIN 344V9) £S GOOMINNOM OSN 3449) 9T0¢/S/TT SbOp-SHSIP 1NO} 1Sse] NOSILUVS VNG14| £5
9LES NOGNO1 3uOV ONO] OWSN 344V0 FYOV ONO] OMAN 3440 9TOC/E/EE SpOp-SHsIp INO} Seq NOSLLUVYS VNAIS| 2S
lle¢s NOGNO] 48S MJNVE - NA IAVd ESgHLS UaNVE — 1A 1NVd STOC/E/TT SPOy-SHUsIp INO} sey NOSILUVS VN374| TS
ivS.cs NOGNO} SAATISHS SASTISHS 9TOC/E/ET GvOb-SHSIP 4NOJ 1Seq NOSLLUVS VN313| 0S
96 CS. - NOGNOTIGNV¥IS SHE) 9A. IAVd (GNVULS SHE) IQ INVd QLOC/C/TT SvOy-Susip anoj yse] NOSLLUVS VNJ14] 67
00°S¢$ {N AAIZVH TZLOLCS82Z8 STIVN dIA ONINNVL CNV TIVN diA/9t0¢/6Z/0T | StOb-SUSIP Ino} se) NOSILUVS VNI13| SP
95° 225 [N IAIZVH —-86Zb IISOINNOXXG S31VS JGISNI USOWNOXX3 9L0Z/8Z/OL  - SvOv-SHSIP InoJ Ise} NOSILUVS VNA3T3| 7
lvS'tss iN INVES GI NVINIS3NDZ YSISVONVE NVIN1S3903] USISVINV] 9T0C/ZZ/0L | SPOP-STBIP INO} 1Se7 NOSILNVS VN3231 97
lress {N CIOH3344 SPIT ONT LUVINS Lad QvIT# ONT LYVINSL 3d 9EOC/ZZ/OL | SpOP-SUSIP Inoj ise) NOSLLUVS YN413| SP
69° CPCS iN NVdVIVNVIA 60000000 S6# SNVINDIM S6SNVINDAM STOC/LZ/OL —- ShOP-SUSIP sno}. ise} NOSLLUVS VNAT3] be
OO'SES TN SGINIOH 600000000 41ND 9 34 WO.4IND SLOZ/ZZ/OL —- SvOv-StBIp ino} 3sey NOSLLUVS VNIISI EP
1062S iN. S5IZVH 690208 ADVINUVHd/SAD 690L0# ADVINNVHd/SAD 9T0Z/9Z/0T | S?OP-SUIP ino} se) NOSLLUVS VNATAl Cr
TZ8TS fN — -ONORTNVIW 79800# ADVINSVHd/S/AD 7@9800# ADVINVHd/SAD 9TO¢/S¢/OL | SrOp-SHSIp inojasey NOSILUVS UNS] Ey
veSS {N GiOH33aud S20 VNVAVIL SL VNVAVIL SEOC/CZ/OL | SpOr-SIISIp INO} Yseq NOSLLUVS VNI73] OF |
O0'6ES [N_ 437ZVH H OAWIN L31ZVH DAIAEN NVMVLVIA STO¢/ZC/OL |. SbOb-SUSID ano 3sey NOSILYVS VN373| 6E
ECCRS -—N @IOHI3Y4 6200 VAODVd ONIDUS!d S6¢ VAOOVd ONIDYAld 9EOZ/ZZ/OL = SPOP-SUSIP 1noj se) NOSILUVS YNATAI SE
OOLETS [N_ S¥IV4 NOINIL VIIGSOH LSA INVE G34 IdSOH AUVNINFLFA INVE GSU 9TOZ/EC/OL | SOP-SUSIP Inojyseq NOSILUVS VN3Ta] ZE
7S'8S {N NVdVIVNVIAL GO000000 S6# SNVIND SM. S6SNVINDSM 9L0Z/0Z/OL | StOb-SHBip ano} se] NOSLLUVS VNA131 9€
S68Es fN -ASTIZVH 867 IIGOWWNOXX3 FGISLNO LVD TEOWNOXX4 STOZ/6T/OL | SvOr-SUSIP no} 3seq NOSILUVS VNATSI SE
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87'STS YD -€ELLSE6COR MMYNOOEOIOHd, WdAVd) AWdAVd MUVIA: 9T07/8/CL GPOP-SHSIP. INO} Se] NOSLLUVS ee
SS'Sts iN JAIZVH 867 TISOINNOXXS 3GISLNO 1VD USOWNOXXS 9T0Z/L/2T SvOb-SUSip ino} ise] NOSLLUVS VN413|SOE
00'¢s iN; 43IZVH_ 86/0 NEOIWWNOXXS SATVS ACISN] JIGOWINOXXA 9L02/2/ZT SPOP-SHSIP 1NOj Se] NOSILUVS VN314 [VOL
99'69S . {N NVdVIVNVIN 60000000 S6# SNVINDIM SESNVINDIM SLOZ/Z/cL |. SvOp-SHBIP anoj ise] NOSLLUVS VN314 EOL
0070s [N FJOUNOW SOTOLVINNSG NOLIONINd) = ADOTOLVINNSG NOLSONINd 9T0Z/9/ZE_ | StOr-SiBIP inoJ 3se]  NOSLLYWS VN313|Z0L
Oc Tvs fN NOLIONINd Ud ADVIANVHd ODFHLOdVEFONINd ADVINUWHd OOSHLOdV9T0Z/9/2E | S¥OP-SHSID4nojIse]. =—-—-»-« NOSILNVS VN313] LOL
GE'SES fN MOINSILIOD — SYSNVI1O- GUVHOYO SHYSNVI1D GHYVHIYO 9L0Z¢/9/2E SvOp-SHSIP INO} Iseq NOSLLUVS VNA1S|/00T
[So'SETs sn pioyael4 STEeTEecz eiois jddy| VIVIAN GIOH34ud SEL YU Widdv/ 9T0¢/9/2r GvOv-SHSID INO} Se) NOSLLYVS VNAT4I 66.
100°00€S AN MYOA MAN M L119 ALID NUOA M3N| | 3M L3TIVE ALIO YNOA M3N/9T02/S/ZT. GvOV-SUSID ANG} ise) NOSLEYVS VN313| 86.
L8'SES {N OYOSTEVIN, LNVYEAVISSY VEIAINVS INVUNVISSY VUSAAVS 910¢/S/cT SpOv-SiISIp 4noj Ise] ~ NOSLENWS VNI74| 26
9T 6S fN  NMOLHSHIONS = S,AJAUVH 8 ANUS S,AJAUVH 8 AUNAL OTOT/S/CE GpOp-SUSIP NOY Se] NOSELUVS VNG14] 96 |
OV. SSS iN NVdVIVNVIN 60000000 S6# SNVIAIDAM §6 SNVINDIM 9EOC/S/CE GvOb-SHsip inoj ise] NOSILUVS VNI13] S6
SE66S AG:NOZVINV G-04 IOI LMNs NOZVINV IQ NOZVINY 910Z/E/ZE SvOP-SUSIP INO} sey) NOSLLUVS VNITGI 76
99°897S fN  STIV4 NOLNIL VUdSOH 13A XNVG G3u) [dSOH ANVNINSISA INV Cau 9TOC/E/ZT GpOP-SlSip anojyse], == NOSELNVS WNIT] £6 |
1SS°6STS. {N STIVANOINE VEIdSOH L3A INVA G3Y) IdSOH AUVNINILIA INV Gay 9T0¢/E/cT SyOy-SHBIP 1NOj 3s] NOSHLUVS VN413| 26.
{Ab 9s VM JQ'NOZVINY SLNSINAVd 3G NOZVINV. AG NOZVINV! 910¢/¢/ct GpOp-SilBip mnoj seq NOSILUVS VN4141 16.
100°99SS_ iN. uedejeueW og AUBIVE SSINSIVIOHD|  44VO BS AUNVE SSINSTIVDIOHD 9TOC/C/cT SpOp-SUBIP 4NOJ 3SE} NOSILUVS VN314| 06.
00°80ZS (Ns JHOMONIT SNVOSAS ATIVE NOINA) Od JUV JAS ATINVS NOINN 9LO¢/2/cE SvOvy-SiBip snoj ise] NOSILUVS VN373| 68.
65:0¢$ AN YYOA M3N 0. 9SEVL# AGV4I" INVAG 9SEVL SNIAUDIVM STOC/E/CE SPOP-SHSIP INO} Iseq NOSILYVS VNI13] 88
00°S¥S AN MHOA MAN NGIGLEORD NIVd 31 NdIGLLONDO NIVd 41) 9EOZ/E/21 SvOv-Susip ino Ise} NOSHENVS VNII3| £8
-ABE6¢S AN SMGA MN OSPCOT GULSGHFIOHM) — dULLINUVIN. SGOO4 FIOHM 9T0¢/E/ZT GOP SUSIP sno} 1Se) NOSLLUVS VNA7a1 98
IZ6ES fN JIOUONIT EEIO# JUOIS SdN SH TLI90# JUOLS Sd) JH 9EOZ/T/2E SOb-Slisip ino} 1se9 NOSILUVS VNAT3] SS
IS@:2ES fN MO3NSLIOD SYSNVIID GYVHONO “SYUANV410 GUVHOYO 9L0G/E/2T SPOV-SUSID INO} 3Se] NOSHLUVS UNIT3I 78
OO'OLS IN YOSN SLIOD LO0000SPE SMid SIIVN SNId SIIVN 9E0Z/62/EE | SpOp-SiISip snoj 1se4 NOSILUVS VN314] €8
Se Les f[N AOSINY. HLMOS C6crS SYSHLOUG TalVd SUIHLOUG 1dLVd 9TOZ/6C/EE |. SbOb-SHsIp Ino} se] NOSLLUVS YN3TSI 23
SpCLIS fN AOSINV HLAOS C6ZVS SUSHLOUG 1aLVd SHIHLOUG 13LVd SEOZ/GZ/EE | SOP-SHSIP sno} se} NOSLLUVS VN314| ES.
100° 27S [N. NWdVIVNVIN 0000 3YOLS-D FINO JNOIS-D FIND STOZ/ZZ/TL | SPOp-SHEIP ino} 4sey NOSILLUVS VNJ74] 08
S8'6¢SS —N NVdVAVNVIA 60000000 S6# SNVINDIM G6 SNVINDAMI9SLOC/ZZ/TE | SPOP-SUSIP sno} sey NOSLLUVS VNJ14] 62
S6°99S (No OWOD VIA 0 Z8E0098PEE Od SdSN AASHSl HLAOS SdSN/9TOZ/9Z/EL = SwOH-S3ISIP ino} yse4 NOSLLUVS VNJTS! SZ
66 °7vS IW 929-875-958 OTL SOUANAS SIUIHS DONANNS 9TOZ/SZ/EL = SvOb-SISIP ino} 3se] NOSILUVS VNI15| ZZ
SOLIS {N NVMVLVIA 000: ADVINEVHd NVIAVLVIA AOVIANVHd NVMVLVIN SEO¢/P2/EE | SvOv-SiIsIp inoy Se] NOSHLUVS VN3131 92 |
L£SCES euquind osnni4) WOD'O9ANYS MMM | STOC/EC/TE | SPOp-STSIP Ino} 1se] NOSHLUVS YNIVAI SZ
O8 SLES WD SATSDNV SOT TSM3l ASNOOW VSSINVA| —- AUTSM3E ASNOOIN VSSANVA STOZ/EC/TE— SPOP-SHBIP uno} seq NOSHESVS VNA1SI V2
LL Ces [N {3IZVH —-86LP HISOINNOXX3 AGISLNO LVD NAOWNOXXE 9T0Z/9T/TE | StOP-SHSIP 1noj seq NOSILNVS VNA14| €/Z
OLLITS (N- E31ZVH-~—- 0000 LSVa NuVd ISW3 UVd SEOZ/SL/TE | SbOb-SHSIP 1nOj 1se7 NOSILYVS VNA1S| ZZ
IOEOZS fN OUOGTUVIN, CO800# ADVIAINVHd/SAD 7Z9SO0# ADVINUVHd/SAD SLOC/9L/EL | SpOp-suSiIp uno} se] NOSLLUVS WNAV3I TZ
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88°0LS AN YUOA MAN # ANG ALNSME AMNENGO # INO ALNIME AUAENSO LE0C/ET/T SvOb-Susip 3noj se} NOSLLUVS-VN313|Z71
pOv9S AN MOA MN # JNO ALNIME AUNEND # INO ALNIMELAUALNID | LEOC/ET/E | SOp-Sidip anojisey NOSLLUVS VNA1S/ TPT
00'22ZS AN MYOA MSN 0000 POSEH FTIGOIEL VOSE TUGOUL 2EOC/ET/L SPOP-SUSIP Ino} ise] NOSLLYVS VNITS OVE
LELSIS AN YXOA MEN 0000 OHOS WuAd OHOS IWNd | LTOC/ET/T SpOp-SUsip ino} ise 4 NOSILUWS VNJISI6E1
VO'SES AN MHOA MAN 0 9SEVL# IGVIY- aNVAG OSEPL SNAFU IWM | LL0C/CE/T GPOP-SUBIP INO} 1Se] NOSHLYVS VN37S|[8E1
SS'20ts fN OUODINVIN. Z9800# ADVINVHd/SAD Z9B00# ADVIANVHd/SAD ZEOC/TE/T ——— SpOy-S1ISID Ino} Ise) NOSLLUVS VNA1S|ZEE
LE TSS 44 WNOD'NOZINSA. AVdSINILANO NOZINIA _ SOIINODNOZINSA| ZE02/T1/t SvOV-SUSID INO} 1SEq NOSILYVS VN3TS/9ET
8709S PENG LNOdMIVIVEARGSLOOg| = €-L_ LUOdUIV IVAN SLOO@ Z10Z/6/T SvOb-Susip 4noj 3Sey NOSHUVS VNAIS|SET
16S°ES IVEINAIN, SOCEAVG 334409 34V9|  SOCTOOETIAVG 344409 34V9 LTE0Z/v/E SPOb-SUBIP NO} 1Se7 | NOSLLUVS VN3TSIPEL
S6'80¢S WO WOD'SINGNVET SNIFINGNVEC) ONIGINGNVEZ SEOZ/EC/ZE —- SPOp-SUSIP uno} 1se7 NOSILUVS VNIV4IEEE
GL9¢S HO. LEEE-BLC-888 FIUSOW-E JHGOW-L VISSA|9EOZ/c2/Zt |. SpOb-SUBIP ino} sey NOSLLUVS VNATSICET
|09°6tS {N TVWZVH — 86Zt IIGOIWNOXX3 ST IVS SGISNI IIEOIWNNOXXS 9T0Z/27/ZE-- SPOb-SUISIP ano} yse7_ NOSILUVS VNITSI TET
-16S°79S _{N NVMVLVIN 0 POPOSEEPEE Od SdS/A AASHAL HIGOSSdSM 9102/27/21. | SvOp-SUIZIP ano] Ise], ~ NOSLLUVS VN3TSOST
00'¢$ iN NVMVLVIN: [ZSP# JYOLS SdQ SHE LCGb#H FUOIS SdA HL STOZ/EC/ZE | SOP-SiIsIp anoj sey NOSLLYVS VN313 621
Ot YZES [N  STIVA NOLNIE VLIdSOH LIA YNVE G3) IdSOH ANVNISLSA INVE Gay 9L0Z/0Z¢/ZT | SPOr-SUISIp noj ise], NOSLLYVS YNI14| 821
00°99S [N_ NVdVIVNVIA 0281780 IIVNOISS34O¥d TIVNOISS34OUd SLOC/6/ZT | SvOp-SUISIP 1noj se] NOSLLUVS VNA1S [LCL
We LES fN NVdVIVNVIA HOLS ISSTIV VNIDND d 8 SINVYOLSIU ISSTIV VNIDND/ SEOC/6T/ZE | SPOP-SHSIP 4no} yse] NOSILUVS VN374 1971
CEVCLS [IN NVdVIVNVIN 60000000 S6# SNVIIDSM. S6 SNVINDIM SLOZ/6L/ZE| - SpOp-SHSIpP uno} se], NOSILUVS VN344|SZE
LE6S AN SYOA MAN | NSIGLLOND NIVd 31 N3IGILOND Nivd 31 9t0¢/ST/ct | — SvOp-sjlSIp ino; 3se7 NOSILUVS VN3TS|PcT-
100°CLS AN MOA MAN NaIGILOND NiVd 4] NAIGLLOND NiVd 31 STO¢/ST/ZT | S¥Ob-SUSIP Ino} 3se7 NOSILUVS VNA TSEC
Zv'OOLS AN YYOA MIN #3NO AINSMI ANOLNSO) CZ INO ALNSML ANNLN3D STOZ/Z4/2E | SvOp-SuBIp uno] ise], NOSILYWS VN3T3| CCL.
LE Y0TS AN MYOA MIN HSNO. ALNSML ASQINSOD) — @ZH# INO ALNSML ANMLNIO. OTOZ/9T/ZT |. SpOp-SiIdIp ino} ise] NOSILUVS VNAVSI ECT.
SZvs AN MYOA MN. # 3NO ALNSME ANOLNSO| . CZ# INO ALNEML AUNLN3O STOZ/9T/CL | SOp-SHSip uno} ise] NOSILYVS VN373 OCI
LE 6ES —[N STIV4NOLNLL VLIdSOH L3A YNVG G3Y) 1dSOH AUVNINSISA NNVE GAN) 9TOZ/9T/ZT | SPOP-STISIP 2n0j 1Sse] NOSILYYS VN313 611
78S8S fN OYODTYVIN 79800# ADVINUVHd/SAD Z9SO0# ADVINUVHd/SAD | SEOC/9E/CL | SbOb-SUSIP INO} Ise]| NOSILUVS VNA14/81E
60°S#S {N OWOR LUVIN OL066S1S2S 1O-TISHS MO TISHS SLOC/9I/CL | -SpOp-SUSIp ano} 3se] NOSILYVS VN@TSIZTE
ey LSS {N IIIZVH 0000 006r# FUGOWN-L 006 JIGOIW-L 9E0Z/SE/ZE | SvOp-SUSIp nO} 1Se] NOSLLUVS VNIT4/9OTT |
€9L7HS {N NVdVIVNVIA 60000000 S6# SNVINDIM G6 SNVINDAM 9L0C/ST/Z1 | SOP-SUSIP 4noj ise] NOSLLUVS VN3TSISET
109°6LS fN ATIZVH 8620 IISOINNOXX3 STIVS JGISNI IISOIWWNOXX4 9TOC/PT/ZE | SpOr-SUsIp noj ise] NOSILUVS VN3T4|7IT
S6 80¢S VO WOD'SINGNVEZ ON! SIGNVEZ? INI SWONVEZ 9T0Z/pt/ZE | SOp-SUSIp inoj ise], NOSHLUVS VNSTSICEL
IGLLS aa NOLONIHSVM. 0000. 2°84 SOd IVULINV G84 SOd WWULINV SEOC/EE/ZE|  SPOp-SUBIP sno} 4seq NOSLLNWS VNAqSI CEL
66 CSS fe HH NOXG 2227O0# ADVINUVHd/SAD LLECO# AOWINUVHd/SAD SL0¢/CL/2L.| -SeOp-SUBIP unos Se) -NOSLLUVS VN3ISITIT
|69°0v$ qd WOD'NOZIN3A. AVdSINILINO NOZINSA SOIMINODNOZINIA 9E0Z/6/ZE ss SO SHISIP 1NO} 35e7 NOSILYVS VN3TS/OLT:
€O'6ETS VM: -£668-££6-008 141 GiIVdlSOd JNSOWL TAL FIGOW-E 9EOC/8/CE | SPOP-SIISIP ney 3Sey NOSILUVS YNI13 601
eEes {N TAGIVIOH 0 Z8ENSOLEEE Od SdS/N AaSYSL HENOS SdSN 9T0Z/8/ZT GvOp SUsIp Inop ise} NOSILUWS VN313|80T
86'°STS Wo €EL/SE6C0b MMNOOSOLOHds WdAVd WdAVd YUVIN 9E0¢/8/2T SPVOv-SHBIP INO} 1se} _ NOSLLYVS YNJVSIZ01
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E9°6LTS [N_AO@INV HINOS Z6cPS SHSHLONG TSLVd SUSHLOUG 13LVd £t0¢/Z/¢ GpOp-SuSip mojyse], = NOSILUVS VN314/8/T|
lpees: “AN YYOA MAN N3IGLLOND Nivd 31 NZIGILONO Nivd 31/ZTOZ/T/2 =| SpOv-SUSIP sno} seq NOSLLYVS VN313| 2/1
oe ves Al: JOIN MUA TIVIN NOLLVZIIVNOSH3d, WOO TIVINNOLLVZITVNOSY4d | ZE07¢/E/2 GvOp-SUBIP Ano} 1Se7 NOSILUVS VN314/9/T
SL'87$ AN YUOAMAN €200 LOINISIG 7 INVUAVISIY LOMISIG FI Z10z/T/z SpOb-Susip ino} seq NOSLLUVS VN314[S/T
[TZ AN WOO'AIVNOSYSd AINA NOLLVZFIVNOSU3d| J SSUSAINANOLLVZFIVNOSHAd!| ZT0Z/T/Z | SvOp-SUBIP snoy se] NOSLLUVS VNSTSIPLT
69° TSS [N _ STIVI NOLNIL VIIdSOH 13A INV Gaul IdSOH AUVNINSLSA YNVE G3u ZTOZ¢/TE/E | SrOy-SUSIP snoj3se7 NOSILUVS VNITSIEZT |
oo'rts. AN OA MAN SNOISSIONOD SONTUVG FSNOISSTONOD SONUVG ZEOZ/0E/E | SrOb-SHSIP no} ise] NOSILUVS VNI14|Z/T
|es"8s ——N _ NVdVIVNVIW 60000000 S6# SNVINIDIM G6 SNVIND SM 2102/82/E | SpOP-SUBIp 4noj 1se7 NOSLLUVS VNI1/ E/T
LE LCS iN. NWVdVIVNVIAI 60000000 S6# SNVIIDSM G6 SNVINDIM £T0Z/82/E | SbOb-SuSIp 3noy ise] NOSLLYVS VN31a[0ZT
leg-eegs AN LSS-TpS-ZIZ_ WOO 'AVMGvOUd Idk GVONE/LDANIG TULVSHL ZEOZ/ZZ/T | ShOp-SUBIp unoj yse7 NOSLLUVS VN314 [691
09°6t$ iN L3IZVH 862 TIEOINNOXXG| «—SFIVS SGISNI TIGOWNOXXa /t02/227/E | SpOp-SUSIp Ino} 3Se) NOSLLUVS VN373|89T
99°2$ ¥N NaaGuaav TS NJIquIaV ILINdOHS N33QURGV EL9 ILINdOHS ZT0Z/Z7/E | SpOP-SUSIp indy yseq NOSLLUVS VN313|Z9T
TL66S {N NaIGUIGV ESNAIGHIEVALINdOHS) —- NSBGUSSVETOSLINdOHS ZTO¢/ZZ/t | SPOb-SUISIP sno} ysey NOSILYYS VN313|99T
00'OTS fN _ XO4NS1109 LO0000SPT SN'1d SIVN SAid SIIVN | ZEOZ/SZ/E | SvOr-SBIp 4noj 3se7 NOSLLUVS VN313|S9T
00°S9$ [N  3O3NSL109 LOOO00SPT SM1d STIVN Sffid SUVN | Zb0Z/SZ/E | SvOp-SUSIP ino} 1Se) NOSILUVS VNI73/79T.
€0°8s$ (N T3GWIOH 00 €09Z692000 ODONNS| ONLLLDUVIN 8 ONINIGSY NAS ZE0z/S¢/T | SpOv-SUSIp snoj Seq _ NOSLLYVS VN313 691
Sheers YO L6EE-8L7-888 FigOW-| FUGOW-L VISIA Zt0z/v2/E | SbOv-SusIp ino} ise} NOSLLUVS VN313|291
03'€9$ [N JAGINIOH 0 Z8E0SOZEEE Od SSN MISUSE HLNOS SSA ZTO@/vZ/E | ShOv-SUBIP sno} yse7, NOSILUVS VN314|/T9T
18°@tS [N _ OWOMINVIN._ Z9800# ADVINNVHd/SAD Z9800# ADVINNVHd/SAD|LE0Z/PZ/E —— SvOr-SUSIP 4noy Se) NOSILYVS VNI1309T.
86°66$ {N OYOPTUVIN. Z9800# AQVINUVHd/SAD Z9800# ADVINUVHd/SAD | ZE0%/r7/t | SPOb-S2IBIP snoy 1se7 NOSILYVS VNI13/6ST
py99rs$ [N_ NVdVIVNVIA 60000000 S6# SNVIIDaM S6 SNVINDSM | Lt0¢/rZ/E = SbOb-SIISIp ano 1se7 NOSLLUVS VN13|8ST
vi 96S [N _ NVdVIVNVIN 60000000 S6# SNVINDIM| S6 SNVINDAM ZT0Z/0Z/L_ | SbOb-SiSip ino} sey NOSLLUVS VN313) ST
S6°9/$. iN OUOPIVIN 0 L8E0098PEE Od SdSN MISHSFHLNOS SdSA ZTOZ/6t/t | SpOr-SUZipinojisey] = NOSIL WS WN373[9ST
|s9°09$ IN _ OYORTUVIN 0 Z8E009SPEE Od SdS/N MISHIFHLAOS SdSA/ZTOZ/ST/E | SrOp-SUBIP nO} 1Se7 NOSLLUVS VN31 [SST
VL 6STS fN LJIZVH 9Z60# 10d3G FWOH SHE 9260 LOd3G JINOH | ZT0Z/ST/T | SvOP-S}IZIP 4noj sey NOSILUVS VN314 17ST
L9° VOLS fN G@IOH3au4 L960# LOd3G 3INOH 3HL 1960 10d3G JINOH JH1 Zt02¢/8T/T | SvOp-SUSIp Ino} se] NOSILUVS VNAT3/EST
06 t9z$ [N _ AOGIN HLNOS @6zvS SUFHLOUG 14LVd SUSHLOUG TaLVd ZEOZ/ZT/T | SPOb-SUSIp snoj ise7 NOSLLUVS VN313/2ST|
LELLS FN N3dGugaV TISZO# AOVINUVHd/SAD TESZO# ADVINEVHd/SAD ZEOZ/ZT/E | SbOb-SHSIp ano) 1se7 NOSILUVS VN314| TST
joo"0z$ fN- NONSLIOO = SUANV310 GHYVHOUO SUINVIIO GUVHONO LEOZ/9E/T | SbOb-SHBIp sno} 1se7 NOSLLUVS VN3TS[0ST
og"ess AN WUOA MIN N3IGILOND Nivd 31 N3IGILOAD NiVd 31/ZT0Z/ST/E | SPOp-SUBIp ino) yse7, NOSILUVS VNI13|671
ZE'S8TS EELLSEGZOY CIOOVEVEUVE. WdAVd| ONI WdAvd ZE0Z/rt/E | SvOp-SUip no} 3se] NOSILUVS VNI13(8bT
79° €6ZS AN YOA MAN # INO ALNSML AUALNGD| # INO ALNSMLAUNLNO ZTOZ/vE/— | SpOb-SusIp ino} seq NOSILUVS VNI13/ 20
SL°tS AN YYOA MAN €£00 LOIWISIG 31 INVYAVISHY LOIMISIG TF] ZTOZ/¥T/E | SOP-SiISIp 1nOj 1se7 NOSHLUVS VNI1S 971
— las9zs AN WUOAMSN €f£00 LMISIG TH] INVUAVISAY LOMISIG 3T/ZT0Z/pt/E | SOr-suBip inoj3seq NOSILUVS YNI7S/Sb1
Sv'0ts AN YYOA MAN NZIGLLOAD NIVd 71 N3IGILOND NiVd FI ZEOZ/ET/E | SpOP-SUBIp snoy 3seq NOSILUVS VNITS| PPT
TL8TS AN UOA MAN SOT - FOS Gi 3Lu PESOL GIVILIN ZEOZ/ET/E | StOv-SUSIP 3nOj 3Se7 NOSILYVS VN313|€bT
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Ep tts AN MYOAMAN €200 LOlMISIG 71 INVYAVISHY LOIMLSIG F1/ZTO¢/v/E =| SvOp-SUBIPsnojysey] = NOSILNVS YNJ13| PIC
8072S AN YYOAMSN E200 L0INLSIG 71 INVUAVESSY LORISIG 31) ZT02/b/e- GpOr-sHsIP Inoj sey) =: NOSLLWVS VNJTA| ETC
eC VES AN HOA MN 0 9SEVT# Ava" INVAG 9SEVT SNIFUOIVM | Z10c/E/E SVOP-SUBIP INO} 1SEq NOSILUVS VNI14|ZT7
yo9Ss - AN -YYOAM3N  NGIGLOND NiVd 73 NaIGILOND Nivd 47 2£02/€/€ SPOv-SUBIP 1NO} 1Sey NOSLLYVS VN314|TTZ
9L°8$ VO WOO YSEMdISH IZA COUVINSA, AEN wan LLO¢/€/€ GhOY-SUSIP 1NO} Seq NOSILNVS VN373|01Z
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99°€v$ TN ONOSTYVIN S SLDINVIN GOO3 NVISV SLBYUV GOOI NVISV ZT0¢/82/Z | SbOP-SUBIP sno} seq NOSILUVS VN313 802
39°01$ sn MYOAM3N WS AdLLOdS “ASILOdS LUOZ/vc/e | SvOP-SHSIP 4noj SET NOSILYVS VN313| 202]
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S6'POES (N  0¢£9-659-888_ G3LVYOdYOONI FSI WOD'VSNITIN ZE0¢/vZ/2 | SPOv-SUBIp ino} seq, NOSLLUVS VN3141S0Z.
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66'09$ TN OWOPINVIN 0 L8E0098PEE Od SdSN AASHSE HLNOS SdSAZTOZ/Z7/e = SPO v-SIIBIP ano} sey, NOSILUVS VN313|CO7
6LvEEs fN._ NVdVIVNVIN 60000000 S6# SNVIIDAM G6 SNVINDIM Zt0Z/T7/Z | SvOP-SIBIP Ino} seq NOSILUVS VN31A/T0Z
39°0v$ 14. WOD'NOZINSA AVdaINLLSNO NOZINSA SOIUINODNOZINSAA ZE0Z/T2/< | SvOv-StSIP noj se] NOSILUVS VNI14|00C
lee9S FeqsouelyAoy 9ai4 Ang WjoYLy, —jYF JeuOSSyIIa Sjlo7 POISBN|4 ZTOZ/6T/Z | SvOv-SHBIP ino} Ise) NOSILUVS VN313|66T
2701S degsouefjAay 9a14Ajng Ujoylsy) — jyy JeuOssyL SH] POISEN|Y LTOT/6T/< | _SvOY-SIBIP inoj 3se) NOSLLYVS ae
SELES FUV-ATIOHNDOLS —-S ,1NagOU OE9T td VZZVAV) £E0¢/81/¢ | SbOb-SUSIP sno} ise] NOSHLNVS VN315|261
00'0TS FN YOINS1109 LOOOOOSPT SA1d STIVN S(Vid SUWN ZE0Z/8/¢ SvOP-SHSIP NO} Se) NOSILNVS VN313/96T
00°09S. [N - YOSNSI109 LOQ000GPTE SAld STIVN SM1d SUWN | £502/8/Z SPOP-SUBIP INO} Ise] NOSILUVS VN313|S6E
9ETCS VA —_ATILLNVHD—- SM1dSISUNODLVIND Sid SASHNOD LVSUD SHL £T02/L/Z GhOY-SUSIP Ino} se] NOSILUWS VN313| 761
00'0$ YW - FOG BUN TIVIN NOLLVZITVNOSUad| WOO TIVINNOILVZINVNOSHAd | ZT0¢/Z/Z ShOv-SUBIP INO} 3Se7 NOSILYVS VNI13]E6T
or'9s ——N  NMOLHSTION 000 Lrr@t# SNIIUDTVM Lycl SNISUOIVM LE0/L/7 SvOP-SUSIP ano} 1Se} NOSLLYVS VNI13|Z6L
73°99S [N  NMOLHSHIONS ~—s pSZTO ST1dVIS pSZT SdIdVIS LTOZ/L/C SPOv-SUSIP INO} se} NOSILUVS VN313| T6L
80'S AN YYOA MAN £200 LOIMLSIG 31 INVYNVLSIY LOIMLSIG 39 ZE02/2/Z SPOP-SUSIP 1NO| Ise} NOSILUVS VN3TS[06T
ES 9S AN AYOAMAN «EZOO LDINISIG.37/, LNVUAVLSIY LONLSIG Fy £T0¢/Z/c SvOP-SUBIP INOJ Ise} NOSLLUVS VNJ13/68T
Evess AN YYOAMAN €200 LOIMISIG 31 INVUNVISIY LOLSIG 31 LE07/L/Z SPOP-SUSIP INO} 1Se) NOSILYVS VNJ13|88T
90°29$ AN HHOA M3N 94 SNNAAV Hild SVS G9 3AV Hild SVS 210¢/9/2 SPOv-SHBIP sno} 1Sse7 NOSILUVS VN414|Z8T
99°6E$ © AN YYOA M3N #3NOALNAMLAYQLNSO) ZH INO ALNIML ANNLNIO ZT0¢/S/¢ SvOb-SUSIP INO} 3se) NOSILUVS YN314[98T
00°82$ AN MYOA MAN PIPE? YSILVSHL HG Tee? MALVIHL NH ZL0Z/S/Z SPOv-SHSIP NO} Seq NOSLLNVS VN314/S81
Q0°0ZTS [N -_- ONOTINVIN O00 HSMN1g NOIVS HSM1d NOIWS Z10Z/€/Z SPOv-Sisip ino} 1Se) NOSLLUVS VN373|18T
Sises (N _ NVdVIVNVIN 60000000 S6# SNVIND IM 6 SNVINID AM 2t02/€/Z S7Ov-SUSIP INO} Ise] NOSILUVS VN414|€8T
OO'ELZS {N _ NVdVIVNVIW 60000000 S6# SNVINDIM G6 SNVIND AM ZL0Z/€/Z SPOp-SUBIP NOY 3Se] NOSILYVS VN314|Z8T
O€ STS AN YYOA MAN -NIGELONO Nivd 31 NSIGLLOND Nivd 31 2b0¢/¢/¢ SPOP-SUIP INO} 1Se} NOSHLUVS VNIT4| 1ST
09'6T$ fN LAIZVH 867 IIGOIWNOXX3| —_ SATVS 3GISNI IEOWNOXX3 ZE0¢/¢/¢ G/Ob-SUBIP INO} yse] NOSILYVS VNI14]08T
TL6v$ [N _ AOSINV HLNOS 26z7S SYIHLONE TALVd SUTHLOUS T3LVd | L10¢/¢/Z GpOv-SUSIP INO} 3Se} NOSILUWS VNATS/6ZT
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872s IN NVdVIVNVIN 60000000 S6# SNVIIDSM S6SNVWIDSM ZEO¢/vE/E | SrOp-SHBIp inj 3seq ‘NOSILUVS VNI13 [602
00°09T$ AN NATIOOUS V8 DUSEN3ZOU S. NI) SSLVIDOSSV 8 OUIENAZON'S ZTOZ/VT/E | SvOv-SUSIP sno} 3se7 NOSILUVS VN315|[802
00°9zS IN _ NVdVIVNVIN 02880 TIVNOISS340Ud VVNOISSS4ONd LEOZ/ET/E | SPOb-SUSIP 4noj sey 'NOSILNVS VNIV3| L972.
vy zrs WD WOS'USaN'd 13H SIX CTUVIN SA. YaEN YaEN LLOZ/ZT/E | SPOv-SUBIp ino) seq NOSILUVS YN373/9¢z
TE76S WD WOO NIEN'dISH did ZTUVINSA. aan YaEN LEOZ/ZT/E | SpOr-SUBIP sno} seq NOSLLUVS VNA13|S¢c
Sr3s AN YYOA MAN NGIGILOND Nivd 31 NFIGILOND Nivd 37 ZE0Z/TT/E€ | SpOp-SUBip snoj 3se7 NOSILNVS VNATSlbyc
8zSZIS. VM __L668-2€6-008 WAI GivdiSOd FIIGOWL WAI FIBOW-L LEO?/TT/E | SbOP-SUSIP 1noj seq NOSILUVS VNITS[Erz
6S LETS VIN €VL9E68-998 J ININAVISIALUdVISIA NOD LNINdVISIAAMMM £EOZ/TT/€ |  SpOP-SHBIP sno} ise} NOSILUVS VNI13|Z¥Z
00°0S$ fN JOUNOW SOIOLVINNSG NOLZONINd| ADOIOLVINYSG NOJIONINd ZTOZ/OT/E | SPOP-SUSIP snoy 3SeT NOSLLUVS VNI13|1bZ
EL 79$ [N  NMOLHSITONA 00 £820 AAN3 JDVSSVIN MANA SOVSSVIN ZE0Z/OT/E | SpOb-SUBIp inoj ise) NOSILYVS VN37 [0c
EL ¥9S fN NMOLHSIIONJ 00 £820 AANA JDVSSVINI AAN3 JOVSSVIN £T0Z/0T/€ | SbOp-SHBIp ino} seq NOSLLYVS VNI73|6€C_
39°0rS Jd WOO'NOZIN3A AVdIWILINO NOZINSA SOIIWOODNOZINSAZTOZ/OT/E | SrOb-SUIPsnojysey = NOSIS VNATS/8¢C/
TLEYS AN UOA MAN 0 9SEvT# Java" ANVAC 9SEVT SNSAUDIVM L10Z/6/€ SPOv-Siip ino} 4seq NOSILUVS VNITSIZE7
OZ'E9T$ AN MYOA MAN # INO ALNIMLAUALNSD) —-7Z# JNO ALNSML ANMLNGO| Z10¢/8/€ GhOv-SUBIP INO} 1se7, NOSILUVS VNTTa[9E~
00°9s$ [N_ NVdVIVNVIN 028780 TIVNOISS340¥d JIVNOISS34ONd Z102/8/€ GPOr-Susip 1noj se} NOSLLUVS VNITSISEC:
7698S iN INVE G3U NVINLSINDA YSISVONVI NVINISINQO3 UIISVINV? Z10¢/8/€ GPOv-SUBIp 4NOj Sey NOSILUVS VNIT3 [VEC
eT OTS fN OWOSTEVIN ~— E000 SE800# INO. : SESH IND £T0¢/8/E SpOr-SUBIP Ino} Ise] NOSILNVS VN3TS/EE7
39°¥9S 7 soFIVGSLLODS. ~=——s WOD AGO) WOO AGGVGOS ZT0z/Z/€ SpOr-suUBIp nop ysey] | NOSLLNVS VNATSIZEZ
9E TCS WA ATHINVHD = SN 1dSSHNODLVIND Sid SISUNOD LVIND HL LT0Z/Z/E SpOv-SUsIP sno} 3Se] NOSILUVS VN374/ TEZ
BT 6S IN AOGIN HLNOS Z6z¥S SHIHLONS TalVd SUIHLONS WaLVd £T0¢/Z/€ GbOb-SuBip ino} 1se] NOSILUVS YN3130€Z
€6°0ES [IN AOSINV HLNOS ZézrS SUHLOUS Ta1Vd SUIHLOUG WaLVd Zt0¢/Z/€ SvOv-SUSIP 1NO} Seq NOSILUVS VN373/62Z
r0'0Ls [N_ AOGINV HLNOS Z6z7S SUTHLONG Tai Vd! SUIHLONG TaLVd|ZT0Z/Z/€ SPOr-SUsIp 1NOj se) NOSILUVS VNI73/822
ITLUTS [IN AOGINV HLNOS ZézrS SUSHLOWS TlVd SUIHLOWG T9LVd | LTO¢/Z/E GPOP-SiBIP 1no} 1Se NOSILUVS YNITSIZ7Z
68°STTS IN AOSINV HLNOS Z6z¥S SUSHLONE TS Vd ~ SUAHLON TaLVd Z10z/Z/E GpOb-SUSIP no} Seq NOSLLUVS VN313/972
9TETS fN OUOGTEVIN Z9800# ADVINUVHd/SAD Z9800# ADVINUVHd/SAD | £E0¢/Z/E SPOv-SUBIp 1noj 1Se4 NOSILUVS YNI1S|1SZZ
GO'7TS (N _ NVdVIWNVIN 60000000 S6# SNVINDSM G6 SNVIND SM | LTO¢/Z/E GPOv-SHSIP INog Ise} NOSILUVS VN39S| 727
8Z'0TS (N __ NVdVIVNVIN. 60000000 S6# SNVINDSM G6 SNVINDIM Lt02/Z/€ GhOv-SUsIP INO SEI NOSLLUVS VNATa[Ez~
COLES (N __ NVdVIVNVIN 60000000 S6# SNVWIDSM G6SNVINDSM LEO¢/Z/€ |  SpOb-SUSIp snoj sey NOSILUVS VN313[Z7Z
leg'sss [IN NVdVIWNVIA. 60000000 S6# SNVINDIM S6 SNVIND AM LI0Z/Z/€ SbOb-SUsip 4noj 1Se7 NOSLLUVS VNA13[E¢z
68 LETS [N __ NVdVIVNVIN 60000000 S6# SNVIIDIM G6 SNVIND SM LLO¢/L/€ SvOv-SHSIP Ino} 1Se} NOSILUVS VNITS10¢Z|_
ETOTS fN._ JTUWANVONOIWW ZvSZ0# ADVINUVHd/SAD LUSZO# KOVINNVHd/SAD | LTO@/L/E SPOv-SUSIP ino; 1Se) NOSILUVS VNI19 [617
7S°SSS sn YOA MAN WOD'ASLI WOD'ASIS ZE0Z/9/E ——— SvO-SUIBIP sno} se NOSILYVS VN314|81z
16.028 AN YYOA MAN NGIGLLOND Nivd 37 N3IGILOND Nivd F7 £107/S/E SpOp-SUsip nO} Se} NOSILUVS YN3TS|Z IZ
Sr'9s AN WYOA M3N N3IGLLOAD NiVd 31 N3IGLLOND NiVd 33 Zt0Z/v/€ SvOv-SiSip 4no} se} NOSLLUVS VN313/9TZ
EvegTs (NO INVE G3u NVINLS3NDA WAISVONVI NVINLSINDA YILSVINV) Z10Z/t/€ GPOP-SUSIP 1no} Se} NOSLLUVS VN314 [STZ
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pecs fN NVdVIVNVIW 60000000 S6# SNVINDSM 56 SNVINDAM £T0¢/8c/e GPOP-SUSIP 4NOj Se]
PL 9S {(N  NVdVIVNVIN 60000000 S6# SNVINDSM S6 SNVINDIM L£T0¢/8z/€ GvOP-SHBIP 4no} 182] NOSILUVS VNA1S1S82
TZ9cs [IN _NVdVIVNVIN 60000000 S6# SNVINDAM S6 SNVIND SM LE0Z/8c/€ SpOPy-SUsIP INO} Sey NOSLLNVS VN 13182
OLTES {N JAGINTIOH GONC00000 31ND O Ba HO 41ND LL0¢/8c/eE GPOP-SUSIP 1N0} Ise] NOSILUVS VNATSFESTZ
6C.660S. - MODSOW 1O0140USV JOOJAY DSi LLOC/LC/E | SPOH-SUSip 1noj.4se] NOSELUVS VNF19|287Z
€6°29S VD  9/CE-OF-008 WO LOdJG3INOH NOD LOddG3INOH: LE0C/LC/E SPOP-SHSIP 4NO} Ise} NOSLLUVS VN413 1187
97 77S AN YUOA MAN 0 SSEPT#H I0V4"N INVAG OSEVT SNASUOIVM  LT0Z/9¢/E GvOp-SHBID 4NO} Ise) NOSILNVS YNI14/08Z
O09TS AN WYOA MAN NIGILOND NiVd 33 NFIGILOND Nivd 31/Z10Z/92/€ SpOr-sUsIP 1no} 3se] NOSILUVS VNI19 6/2
OV CLS AN YYOA MAN. NGIGLLOQO NIVd 33 NZIGILOND Nivd 31/LEOZ/9Z/E | SPOP-SUSIP no} yse7, NOSILUVS VNAISISZZ
LEEES AN HOA MAN NAIGILOMD NiVd 31 NAIGLLOND Nivd 41 LEO¢/Sz/e SpOp-SUsip inoy 3seq NOSILYVS VNATSIL/Z
O6'6ES AN XYOA MAN NSIGILOAD NIVd 31 NGIGELOND NIVd 31 £E0¢/SZ/€ SvOv-SHSIp sno} yse] NOSILUVS VNIT4/9/¢|
Svss AN. MHOA MN | NSIGLLONO NIVd 31 NFIGLLOND NIVd 37 LTOC/SZ/E GrOp-SUBIP INO} 3seq NOSILUVS VNITSIS/C|
ZE09ZS o{N INV GAY NVINLSINDS YIISVONVI NVINISIND3 YALSVONVT Zb0c/Sz/€ SrOb-SUSIP 1NO} Ise] NOSILHVS YN [72
€9.L06S. [IN STIV4 NOINLL VUdSOH LSA INVE GI4| 1dSOH AMVNINALZA INVS Gay ATOC/PZ/€ SpOp-SUsip sno} 3seq NOSILUVS VN3TS|ELZ
TE SPES fN.- STW4 NOLNIL VLIdSOH 13A NINE G4) IdSOH ANVNINILIA INVE G3u ZITO? /EZ/e S/Ov-SUBIP 1nO} Ise] NOSILUWS VNATSICLC
ELOTSS vO VLI1IO9.NIY¥ LNSINAVd AlNadONd {NFU-INIIAVd ALUIdOUd ZTOC/EZ/E SpOP-SUSIP 4nO} 1Se] NOSLLUVS VNATS| ELE
00'0ES [N NVdVIVNVIN 028780 TVNOISSSIOUd JIVNOISSIIONd LL0Z/ZZ/E ShOb-SuSip.anoj 1se] NOSLLUVS VN31S/0/21
IStCLs {N _ INA.LVDIDIM 0 SZLOSETEEE Od SdSN ASSHAE HLNOS SdSA. LEOC/EC/E SvOp-SUSIP snos ise] NOSILUVS VN373|69¢
OLLS iN. ONO TYVIN C9800# ADVIWVHd/SAD C9800# ADVINUVHd/SAD LTOC/EC/E GpOv-SUSIP 1nOj seq NOSILUVS VN314|89¢
95: TCS IN NVdVIVNVIN 60000000 S6# SNVINDSM G6 SNVINDAM  LEOC/T C/E GvOr Susip 4noj 3se] 'NOSHLUVS VN315|/9¢
LEE CRES iN NVdVIVNVIN 60000000 S6# SNVINIDIM S6 SNWIAIDIM LLOZ/LC/€ GvOr SiBip 10} Ise] NOSLLNVS VNA14|99Z
1298S [IN AOGIWNVHLAOS COPS SHIHLOU 181 Vd SUSHLOUG 1d Z10¢/02/€ SPOP-SUSIP AN} 1Se7 NOSILYVS YN3131692
OL:8S [N _ AODINV HEMOS Z6Z7S SYAHLOUS TFL Vd SHIHLOUE 14d ZL0¢/0c/€ SPOV- SUID 4NO} Ise T NOSLLVS VNI13 1792
LEVIS IN — AOUNVHINOS 7627S SHSHLOME 141Vd SHSHLOUS 131Vd £10Z/02/¢ GPOV-SHSIP 4nO} 1SEq NOSILUVS VN314(£9¢
L8-L6S [N- — AOGINV HLNOS 7627S SHIHLONG TaLvd SUSHLOUG 1divd | £L0¢/0¢/¢ SvOb-SHSIP Ano} 1se4 NOSILUVS VNITSIZ9Z
CELOLS ([N AOGINV HLNOS 7677S SHFHLOUG Tal Vd SUSHLOUG 1d Vd! ZT0Z/07/€ GPOy-SUSIP 1NOY 3Se7 NOSLLYYS VNATSIL9Z
|6£ SLES IN. AOGINV HIMOS 767PS SHUFHLONG 131Vd SYSHLOUS Tava ZE0Z/OZ/E | ShOb-SHISIP inoj yse] NOSILUVS VNA1S109¢
‘|ceers fN OYOPTYVIN: C9800# AOVINYVHd/SAD Z9800# ADVINUVHd/SAD ZT0¢/0¢/€ SvOp-SUSIP ino} Isey NOSILUVS VNJ15|65Z
|8Z°0z$ EN OUOTIUVIN: Z9800# ADVINYVHd/SAD CISOOH ADVINHVHd/SAD  LE0¢/0Z/E SvOP-SUBIp 10} 1Se] NOSILYVS VN314/8S¢.
Loves fN AUYZVH 862 1IEOINNOXX] AGISLAO LV9 TIEOWNOXX4 ZEOC/6L/€ SPOv-SUBIP INO} 1Se) NOSLLYVS VN313/ 257)
60°ECS EN AdYZVH 86/7 USOINNOXX3 SAIVS ACISNI NEOINNOXX4 £E0C/6E/€ GvOv-SUSIP 4nd} Ise) NOSLENVS VNITS|9S¢
Z9'GETS H EELLSEGTOP NOTIVSIANI+ IWdAVd AWdAVd NUVIN ZLOC/SE/E SvOv-SUBIP Ano} ise] NOSILUVS VNATS1SSZ
0070S fN NOLSONINd Yd AOVINSIVHd OOSHLOdVLIONINd AOVANUVHd OOFIHLOdV L10¢/PL/€ SpOb-SUsIP 4nO}. 1se] NOSILYVS YNA1al SZ
OV POTS [N  NVdVIVNVIA 60000000 S6# SNVINDIM S6 SNVINODIM LE0Z/7i/€ SvOv-SHSIP INO} yse] NOSILUVS VNITS[ESC|
ES'6LS {N NVdVIVNVIAN 60000000 S6# SNVIND AM G6 SNVIND AM LLO¢/v1/€ SPOP-SHBIP 4NO} 1SE} NOSILUVS YNI1S/CS7Z
S9°CCS [N NVdVIVNVIWW 60000000 S6# SNVINDSM G6 SNVIAIDAM LLO¢/vt/€ GPOP-SlISip inoy seq NOSILUVS YNF14| ES
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95° V6tS AN LSP8-EeS-chcC WOO AVMGVOUE IGL GVOUE/LOINIG SULVIHL| ZTO7/TT/y SPOp-SUsIp 1NO} 3Sse7)
JOS TvS {N 39GINg CIO 9766 IGOINNOXX4| —-AGISINO LVD TIAOWNOXXS ZIOZ/ET/p  SvOv-SHSIP 4NO} Sey _ NOSILYVS VNITSFECE
489°SCS [N_ NVdWIVNVIA JTIV9 NOISIG ANISM! NI AUS TIV9 NOISSC AB TSMAL ZE0Z/TT/7 SVOP-SIUSIP INO} ISe] NOSLLUVS VNATS/OCE
6E CES [N AOGWY HINOS 26¢VS SHSHLONSG Wlvd SYSHLOYE 131LVd LT07/TI/v. SvOr-SUsip sno} Ise}! _ NOSILUVS VNSTS/6LE
TEC LES {N AOGINV HLGOS C6C7S SYSHLOUS WLVd, SUSHiOUG 13LVd ZLOC/T1/2 SvOp-SUsip sno} 3se7 NOSILUVS VNA14|8L
O6°SVS iN AOGIAV HEMOS C6CPS SHAIHLOUE WLVd SHSHLOUG 13LVd LE0C/TT/v. GVOV-SHBIP 1NO} SET NOSILYVS VNG1S| ZTE
0OECS [N. AOSINV HLNOS C6cVS SUSHLOUS 13LVd SHSHLONG Idivd /TOC/T L/P GVOP-SUBIP INO} ISe] NOSILUVS VNA1S/9TE
TPO ELS (N.... DUOGHONVYE S a - ANT IGGVS N3AOG Tl# ANFIGGVS Y3A0G LT07/TT/p GVOb-SHBIP 1NOj SCJ NOSILUVS VN3TSISTE
t7S°896'ES (N . SYNGHONVEE S 2 ANaIGGYS daAOG TL# AMTIGGVS YIAOG LEOC/ET/P GvOL-SUBIP 4N0j se] NOSILYVS VNATA[V LE:
9S'1SS IN OUOTIYVIA OL066S¥S2S 110 TISHS : MO VISHS Zt0z/L/v SPOp-Sisip ino} ise} NOSILUVS VN3TS/ ETE
00°99ES  WHOG OMANI SAVMUIV YVLVO SIVS LHOITINI SAVMYIV YVLVO | £50¢/9/7 GPOP-SUBIP INO} Se] NOSILUVS VN3T3 CLE
SLCuS “YO = £6EE-8L7-888 aHEOW-L FUGOW-1 VESIA L£10¢/9/P SVOP-SUBIP 1nOJ Yse] NOSHLUVS VNITSI TLE
SELES VA ATULNVHD SM tdSASHNODLVAND Sd SISHYNOD 1V3S"O SHL Z10¢/9/7 SvOv-SUBIP 4NOJ Se} NOSILUVS VNZTAIOLE
OSES [N NVdVIVNVIN 60000000 S6# SNVINDIM S6 SNVINS AM, £10¢/9/0 SvOb-SUBIP INO} 1Se7 NOSILYVS VN313160€
C89TS [N- NVdVIVNVIN 60000000 S6# SNVINDIM S6 SNVINDSAM £102¢/9/¥ SVOP-SUBIP INO} 1Se] NOSILUVS VN313|80€
O8'2STS IN NVdVIVNVIN 60000000 S6# SNVINDIM G6 SNVIDSM | £10¢/9/¥7 SvOb-SUBIP 1NOj SE] NOSILUVS VN3131Z0€
0 725 {N NVdVIVNVIN 60000000 S6# SNVINDIM G6 SNVINIDIM £10¢/9/0 GPOr-SHBIP 1nO} Ise] NOSILUVS VNI13 }90€
68 2¢S iN NVdVIVNVIN 60000000 S68 SNVINDIM S6 SNVIND 3M 210¢/9/0 SPOP-SUSIP INO} 3Ssey NOSLLUVS VNATAISOE.
{59 86S YM _£668-2€6-008 131 GivdiSOd JIGOWL - -FALFUSOWEL Z10c/S/e GVOP-SUSIP INO} ISE] _NOSILUVS VN3TS1V0E |
{EL ECs IN FOGG GIO. 9266 JIBOWNOXX3 SA 1VS SGISNI TIGOINNOXX4|ZTOC/S/0 SvOv-SHSIp 1nO} se] ~ NOSLLNVS VN3TAIE0E |
Or 8s -fN AOSIAV HEAOS C6CVS SHAHLOUG IaiVd SUSHLOUS TLV £10¢/S/7 SvOP-SHsip INO} 3Se7 NOSILYVS VN313 ZOE
92915 —N AOGWY. HLAOS C6CvS SHAHLOUG 13iVd SYSHIOUS 19iVd LEO¢/S/v SvOP-SiBip ino} 3se} NOSILYVS VNATSITOE
99°S6S {N AOSV HLAOS C6CVS SHAHLOUG TalVd SHSHLOUS 13LVd ZE0C/S/P StOp-SHSIp Inj 3Se] NOSLEUYS YN374|00€
76S —N AOSINV HINOS C6crS SHAHLOU TalVd SHIHLOUS 13LVd! £E0Z/S/¥ SvOP-SUBIP Ano} Ise] NOSILUVS VNI14|667
19°90TS iN AOSV HLAOS 7677S SYAH LOU TSLVd) SUJHLOUS TAL Vd LEO¢/S/P SPOP-SUsIp 4noj 3se7 NOSLINVS WN313|862
eS USS {N “FACINIOH 00 €094692000 ODONNS) ONILLAYNVIN 8 ONINITY NAS ZT0Z/S/v SvOP-SHSIP Ano} Ise] NOSILUVS VNI131 262
OO €9PS {N GIUSUMO] SUOISIA) NVNINALSA GV3H SLIODIAYSS AUVNIYSLIA GV3H SL109 LL0¢/b/P SvOP-SUSIP INO} Ise] NOSILYVS VN314}967
{66 0S sh OA MIN LNOW.SINOOGNOIGNAOS NAAGYV LLO¢/E/p SVOP-SUSIP INO} Ise} NOSLLYVS VN31s]|S6¢
66°6S | AM ANNSASHO | NOD 'SSITYOVISNI WOD'SSAYDVISNIZTOC/E/p SvOv-SUBIP INO} SE] NOSILYVS VNA1S | 26
L90ZLS VHOG TIM O92. SAVMAUIV EV LVO TIM OD SAVMUIV UVLVO] ZT0¢/0€/€ GPOV-SUBIP INO} Se] NOSILLYVS VNSTS[E6e
OS: ¢S$ ——N NOLN3YL SADIAYAS SSANISNG IN| [AWS SSANISMG AJSUA MAN L10¢/672/€ SvOP-SUBIP JNO} Ise] NOSLLMVS VN3141C6¢
66°66S sa uMoLeTeM = WOD'eZJOY MMM O11 VS MOVINNIS ZE07/8¢/€ GvOP-SiBIp 3NOj se] NOSILYVS VNATA TGC.
00°S¢$ {N NVdVIVNVI 028780 TIVNOISSS4OUd AIVNOISS340Ud |Z T0Z/872/€ SVOV-S}BIP 1NOj Ise] NOSLLUVS VNATS}062
OS ZS [N OUOPIUVW. Z9800# ADVINUVHd/SAD - C9SO0# ADVINEVHd/SAD Z107/87/¢ SPOP-SidIp 4NO yse] NOSLLUVS VNA 15 [68¢
TLE 8$ {N NVdVIVNVIAI 60000000 S6# SNVINDIM G6 SNVINDIM ZL0¢/8¢/c GVOP-SUBIP INO} Ise} NOSLLUVS VINA 14/88¢
9 VES FN NVdVIVNVIN 60000000 SG# SNVIVDSM. G6 SNVIND IM 2T07/8c/E SvOP-SUBIP INO} Ise} NOSILYVS VNA 11 28e
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97 VES VD  WODYAEN d1dH CHA ECUdV SQ. YdEh yaEn ZtOc/Ez/v NOSLLUVS VNA1a[8SE
TO'?Ss {N JFIZVH 862% IIGOWNOXX4 ACISLENO LVD HEOWWNOXX Zt0¢/e2/¥v GVOP-SUBIP INO} Seq NOSLEYVS VNITa|/SE
00-007 FN G€S8°8S/-CeL SOMVG NvduA  SOMVG NVGUA LLOd/tC/p GVOP-SUBIP INO 3se7 NOSILUVS VN3TSI9SE
oS7s | AN WHOA MSN. NAIGHLONO NiVd 31 N3IGLLOND Nivd 437 ZE0¢/0C/¥v SvOv-SHBIP JNO} 1Se4 NOSILUVS YN31S[SSE
JeOeS AN WHOA M3N N3IGILOAO.NIVd 41 N3IGIEOND Nbvd 31 Zt0Z/02¢/r GvOP-SUIP NO} Se] NOSILUVS VNA13|/S€
J28°RECS fN- NV GSU NVIELS3NDJ YAISVONV) NVINISINDG YAISWONV] /602/0C/7 GVOP-SUBIP 1NO! Ise] NOSILUVS VNITSIESE
VL SCS {N XOAN SLIO9 SO WYV4 THH XDOUASH IAUV4 THIH IOOWNSH Z102/0¢/7 SVOP-SUSIP sno} Ise} NOSILUVS VN31S{ZSE
00'662S = VMN THS/AANOD'NZINV SLINd JOVIdDIA NOZVINV Vd - VN JOVIGDINVIN NOZVINV ZL0¢/6t/v GvOP-SUBIP INO} Ise] NOSELUVS VNA TA ESE
8900S dd NOZIN3A-008 AVd DNINYNDIUNOZINSA NOZIMSA| ZL0¢/61/7 GVOP-SIBIP INO} Ise] NOSLLYUVS VNATFIOSE
SE'STS YO WOO'U3EN d1dH PMS STudVSN. Yan Yaad LTOC/6t/y SvOP-SUSIP 1NOj Ise] -NOSILUVS VNITS167E
6615S {N AOGINV HLAOS C6cVS SHSHLOUS TalVd SUJHLOUG 1a1Vd LIOZ/ST/P SPOP-SUBIP INO} Ise} NOSILEVS VNAT/8VE,
|60'VCTS IN. AOSINV HINOS 26c¥S SHSHLOUG aid SUSHLOUG 1diVd £EOZ/SE/P SvOP-SUSIP Ino sey NOSILUVS YNJISIZVE |
£2885 iN AOSINV HINOS €6c7S SHAHLOUS TalVd SHJHLOUS TLV Z10¢/8T/y SvOP-SUSIP INO} 1Se] _NOSILYVS VNa1S|9VE
SESS [N AOGINY HLOOS 26275 SUSHLOUG Idi Vd SUSHLOUG 191Vd ZLOC/8T/v | SbOv-SUSIP Ino] 19k) NOSILUVS VN394| SVE
SCSTS IN AOGINV HLAOS C6775 SHJHLONG Iai Vd SHAHLOUS 1ALVd L£E0C/8T/v SVOP-STBIP 1NO} 1Se) NOSILUVS YN31SIVPE
CESS —N OUOTINVI CISOO# ADVINEVHd/SAD Z9800# ADVINYVHd/SAD LLOC/8T/y | SvOv-SUSIP Ino} Ise} NOSILUVS VNATSIEVE
LB ECTS IN NVdVIVWNVIN 60000000 S6# SNVINDIM| S6 SNVINDAM L102/8T/P7 GPOP-SHSIP 1NO} Ise} NOSILUVS VNA1ZICVE
EN LS iN NVdVIVNVIN 60000000 S6# SNVIIDSM G6 SNVINIDIM LLOC/8T/t SvOP-SUBIP iN] 3sey NOSILUYS VNATd| Eve
Succes iN NVdVIVNVIA 60000000 S6# SNVINDIM G6 SNVAIDSM LE0¢/81/7 SVOb-SUBIP sno} Ise) NOSILUVS VN2IS OVE
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98°91S —N _NVdVIVNVIW 60000000 S6# SNVINDIM S6 SNVINDIM 2 10/81/¥ SvOP-SUSIP INOj Ise] NOSLLUVS VNATAISEE
vcSTs AN YOA MAN VE 1S3Y ONLY GVYNOD AN GVYUNOD Z10C/9T/¥ GPOp-SUBIP NO} 1Sse} NOSILUVS YNAISIZEE
TOVES [N OYOPINVIA, TI8O0# ADVINUVHd/SAD Z9800# AOVINUVHd/SAD ZI0Z/9T/P |  ShOb-SHSIP no} Ise} NOSLLUVS VNITSJ9EE
00°SPS IN OUOPTYVIN OL066SPSZ5 TIO TIZHS WOVWIHS | Lt0Z/9T/r SvOP-SUBIP 1NO} 3Se) NOSLLYVS VNATSISEE.
ESLES AN MYOA MAN = €400 LOIMLSIC J) ENVUAVLSSY LOINISIG 41 2 10¢/91/7 SPOv-SiSIP INO} 1se7 _ NOSILUVS VNITSIVEE
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[0008S {N DOAN SLIOD ZOCOO0SFE SAId STIVN Sid SVN | ZEOC/ET/ SVOb-SUSIP INO} Ise] NOSILYVS WNAIS|ZEE
O0'6LES [N diUSUMO] SUOISIIHA UVNINSLIA GVSH SLIODHAUSS AUVNINSLIA GV3H SLIOD LTOC/ET/v SvOP-SUSIP ino} Ise] NOSILUVS VNG ISI TES
TS r6vs {N JA IZVH 9C60# 10d3G SINOH JAE 9260 LOddd SINOH | LTOc/El/v GPOP-SUBIP INO} 4Se] NOSILUVS VNAISIOEE
CTR EVS {N SUNGHONVYE S d- AYA IGGVS HIAOd ELH AUSIGGVS U3A0G ZEOC/Et/p SvOb-SUBIP INO} yse) NOSILUVS VNA1S16CE
16E-LZSS IN SYUNGHONVYES Sa - AYFIGGVS HIAOd ELH AUJIGGVS YSAOG LLOC/EL/¥ GvOb-SiSip sno} Ise] NOSILUVS VN3TS/8ZE
“Vel ees IN NYVdVIVNVIA| 60000000 S64 SNVINDAM $6 SNVINDSM | 2 1072/ct/ GvOP-SUBIP 1NOJ Ise] NOSILYUVS VNATSI Ze
{TpOts [N NWVdVIVNVIAI 60000000 S64 SNVIVDIM | G6 SNVIID aM ZTO¢/cL/ SPOy-SUsip 1n0} 1Sse] NOSLLYUVS VNZ1S)9CE
—ley7ss [N NVdVIVNVIW 60000000 S6# SNVINDIM G6 SNVINDIM | ZTOC/CE/ SPOr-SUsip ino} 3se] NOSILEVS VN3TS/SZE
EELS {N NVdVIVNVIN 60000000 S6# SNVINDIM, $6 SNVIND AM L10¢/cT/r GvOP-SUSIP INO} 1Sey NOSILYVS VNATSPCE
lel vrs IN NVdVIVNVIN 60000000 S6# SNVINDIM S6 SNVINDIM ZT0C/71/7 GvOP-SUBIP 4NOj Ise] NOSLENVS wnaaleze
4 a qd 2 q Vv

 

 

 

 
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OV ELS EN: OYOSIVIN ZI8OO# ADVINUVHd/SAD Z9800# ADVINSVHd/SAD | ZC0¢/b/S SvOP-SUSIP 1NO} Ise], NOS!LYVS VNJTS|76E
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TE Ces IN NVdVIVNVIA| 60000000 S6# SNVIVDIM G6 SNVIND IM 2102/67/97 SvOP-SUSIP 1NOJ Ise} NOSLLYVS VNI1a|S8¢
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LOTS {N.  N¥dVIVNVII 60000000 S6# SNVINDIM G6 SNVIADAM L10¢/62/7 SvOb-SUBIP INO} ISe] NOSILYVS VNI13|C8€
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e0°0SS VD _-9LEE OEP-008 WO) LOdaGaINOH INOD LOdIGIINOH | L102¢/8¢/r SvOP-SUBIP 4NOj Seq NOSILYVS VNI13/08€ |
0Z'OCS FN 39diuag G10. _- 9266 HEOINNOXXa ACISINO LV TIEOINNOXXd ZL0¢/8¢/0 GvOb-SUSIP 1NOj 1seq NOSILUVS VNI13|6/¢
8L8CS EN FOGING GIO 9266 IIGOWNOXX4) «= SF IVS SCISNI HEOWNOXX3 | Z10¢/8¢/r7 SvOP-SUSIP INO] Ise] NOSILUVS VN34S/82€
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